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 8                                    UNITED STATES DISTRICT COURT

 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   MARILEE BROWN,                                      No. 2:16-cv-0637 MCE CKD PS
12                       Plaintiff,
13            v.                                         ORDER
14   SALLY JEWELL, et al.,
15                       Defendants.
16

17            Plaintiff moves to reconsider the order denying appointment of counsel. Upon review of

18   plaintiff’s briefing, the court finds no basis for reconsideration of its prior order.

19             Accordingly, IT IS HEREBY ORDERED that plaintiff’s motion for reconsideration

20   (ECF No. 10) is denied.

21   Dated: July 14, 2016
                                                        _____________________________________
22
                                                        CAROLYN K. DELANEY
23                                                      UNITED STATES MAGISTRATE JUDGE

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